Case: 4:21-cv-00437-RLW Doc. #: 5-4 Filed: 04/16/21 Page: 1 of 3 PageID #: 669




                 Au Attachment 2
                     Case: 4:21-cv-00437-RLW Doc. #: 5-4 Filed: 04/16/21 Page: 2 of 3 PageID #: 670


  Captured Video: 2020-08-04_COVID Vitamins and Supplements Video.mp4

  Facebook Page: www.facebook.com/drericnepute/videos
  Reviewed Date: 9/30/2020, 10/1/2020, 10/2/2020, 10/5/2020, 10/6/2020
  Reviewed By: Roland Brad Au
  Number of Time Stamps Reviewed per Video: 8



# Title                                     Date Posted Time Posted       Video Length Views Notes
 1 C O V I D, Vitamins & Supplements            9/8/2020       10:16 PM        2:07:28   1.5k   The video plays four times consecutively
 2 C O V I D, Vitamins & Supplements           8/14/2010        9:26 AM        1:03:44   4.1k   The video plays two times consecutively
 3 C O V I D, Vitamins & Supplements            8/5/2020        7:45 PM       31:52:00   3.6k
 4 C O V I D, Vitamins & Supplements            8/4/2020        6:29 PM       31:52:00   3.9k
 5 Vitamin D3, Zinc, and COVID                  8/2/2020        6:15 AM       31:52:00   2.7k
 6 C O V I D, Vitamins & Supplements            8/1/2020        6:23 AM       31:52:00   2.5k
 7 C O V I D, Vitamins & Supplements           7/31/2020        5:57 PM       31:53:00   2.1k
 8 C O V I D, Vitamins & Supplements           7/31/2020        5:03 AM       31:53:00   2.2k
 9 C O V I D, Vitamins & Supplements           7/30/2020        8:18 PM       31:52:00   4k
10 C O V I D, Vitamins & Supplements           7/30/2020       12:56 PM       31:52:00   3.7k
11 C O V I D, Vitamins & Supplements           7/30/2020        5:27 AM       31:53:00   11k    The video has extra time at the end
12 Vitamin D and C O V I D                     7/29/2020         8:05PM       31:12:00   10k    The video cuts out at the end
13 C O V I D and Vitamin D                     7/29/2020       12:30 PM       31:52:00   11k
14 Vitamin D and C O V I D                     7/29/2020        6:12 AM       31:52:00   5.4k
15 Vitamin D and C O V I D                     7/29/2020        3:11 AM       31:52:00   11k
16 Vitamin D and C O V I D                     7/29/2020        7:36 PM       31:52:00   13k
17 Vitamin D and C O V I D                     7/28/2020        3:36 PM       31:52:00   9.7k
18 The FACTS Matter…                           7/28/2020        1:41 PM       31:52:00   7.3k
19 Nothing But The FACTS…                      7/28/2020        5:56 AM       31:52:00   11k
20 You've Got to Protect Yourself              7/27/2020       11:21 AM       31:52:00   13k
21 Time To Protect Yourself                    7/26/2020        6:25 AM       31:52:00   37k
22 You’ve Got to Protect Yourself              7/25/2020       10:18 AM       31:12:00   29k
23 Nothing But The FACTS…                      7/24/2020        7:10 AM       31:52:00   10k
24 Nothing But The FACTS…                      7/23/2020       12:23 PM       31:52:00   9.1k
25 Nothing But The FACTS…                      7/22/2020        5:02 PM       31:52:00   7.9k
26 You've Got to Protect Yourself              7/22/2020        5:19 AM       31:52:00   14k
                    Case: 4:21-cv-00437-RLW Doc. #: 5-4 Filed: 04/16/21 Page: 3 of 3 PageID #: 671


# Title                                    Date Posted Time Posted Video Length    Views Notes
27The FACTS Always Matter                    7/21/2020     12:21 PM     31:52:00   8.8k
28Nothing But The FACTS…                     7/21/2020      6:22 AM     31:52:00   7.9k
29Nothing But The FACTS…                     7/20/2020       8:43 PM    31:52:00   5.9k
30Nothing But The FACTS…                     7/20/2020       3:36 PM    31:52:00   6.7k
31What You Need To Know                      7/20/2020     11:04 AM     31:52:00   9.2k
32Can You Even Protect Yourself              7/20/2020      7:59 AM     31:52:00   11k
33Facts Fear & Deception (REPLAY)            7/19/2020      9:44 AM     31:52:00   17k
34Personal Protection Possible?              7/18/2020       4:44 PM    31:52:00   10k
35Can You Even Protect Yourself?             7/18/2020     12:28 PM     31:52:00   14k
36Can You Even Protect Yourself?             7/18/2020      4:25 AM     31:52:00   18k
37Is it Even Possible to Protect Yourself?   7/17/2020       6:58 PM    31:52:00   13k
38Is it Even Possible to Protect Yourself?   7/17/2020      4:43 AM     31:52:00   17k
39Is it Even Possible to Protect Yourself?   7/16/2020       9:09 PM    31:52:00   9k
40True Protection Possible?                  7/14/2020       4:46 PM    31:52:00   11k
41Why Is No One Talking About This?          7/14/2020      6:14 AM     31:52:00   18k
42SOMETHING DOESN'T ADD UP (REPLAY)          7/13/2020     12:14 PM     31:52:00   22k
43SOMETHING DOESN'T ADD UP                   7/12/2020       8:36 PM    31:51:00   18k      Video cuts off at the end
44Facts, Fear & Deception (REPLAY)             7/8/2020      5:11 PM    31:52:00   16k
45Facts, Fear & Deception (REPLAY)             7/8/2020     8:03 AM     31:52:00   23k
46SOMETHING DOESN'T ADD UP (REPLAY)            7/7/2020     7:35 AM     31:52:00   15k
47SOMETHING DOESN'T ADD UP (REPLAY)            7/6/2020      6:30 PM    31:52:00   19k
48Common Sense Says… (REPLAY)                  7/6/2020     4:40 AM     31:52:00   28k
49Common Sense Says… (REPLAY)                  7/5/2020      1:14 PM    31:52:00   30k
50Something Isn't Right (REPLAY)               7/4/2020     3:30 AM     31:52:00   30k
51Something Isn't Right (REPLAY)               7/3/2020     4:00 AM     31:52:00   37k
52Something Isn't Right (REPLAY)               7/2/2020      7:30 PM    31:52:00   27k
53Something Isn't Right (REPLAY)               7/2/2020      3:00 PM    31:52:00   23k
54Something Isn't Right                        7/2/2020     5:58 AM     31:52:00   106k
                                                                                   810.2k
